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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

                                                              )
                                                              )
    UNITED STATES OF AMERICA
                                                              )
    v.                                                        ) Criminal No. 20-cr-10070-DPW
    GAVIN MACPHEE                                             )
                                                              )
                   Defendant.                                 )
                                                              )
                       GOVERNMENT’S SENTENCING MEMORANDUM

         Gavin MacPhee was charged by Information with a violation of 18 U.S.C. § 1519

(destruction, alteration, or falsification of records in a federal investigation), and is scheduled to

be sentenced on November 16, 2022. The government respectfully requests that the Court

sentence MacPhee to one year of probation, with the first four months of his probationary term to

be served on home detention1, and to pay a $100 special assessment.

         I.       Background and Guidelines

         During the relevant time, the defendant held several roles at Global Premier Soccer

(“GPS”), including office-based roles in administration and marketing. PSR ¶11. In connection

with MacPhee’s administrative role, he managed GPS’ website and assisted with the management

of GPS email accounts. Id. at ¶12. In October 2019, the government executed a search warrant at

GPS headquarters in Waltham, Massachusetts. Id. at ¶13. The defendant was aware of this fact.

On or about December 5, 2019, the defendant deleted a GPS email account belonging to his friend,

another former GPS employee. Id. at ¶¶14-15. On May 20, 2020, MacPhee pled guilty to a one



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  According to the U.S. Probation Office, the practical implications of home detention are the defendant is confined
to his/her residence at all times except for employment; education; religious services; medical, substance abuse, or
mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-
approved by Probation. The government recommends home detention as opposed to another type of home
incarceration in part because the defendant is gainfully employed.

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count Information based upon his intentional deletion of the account.

       The parties agree with the United States Probation Office’s calculation of the Sentencing

Guidelines set forth in the final PSR ¶¶20-29. The PSR correctly calculates the total offense level

of 13. Id. at ¶29. Specifically, the parties and Probation agree that the base offense level is 14.

Id. at ¶20; U.S.S.G. §2J1.2(a). Additionally, the parties and Probation agree that the offense

involved the destruction of a substantial number of records, and accordingly the applicable offense

level is increased by two levels. PSR at ¶21; U.S.S.G. §2J1.2(b)(3)(A). While the employee’s

original GPS email account (as it existed prior to its deletion in December of 2019) is no longer

available, the government can use the data it has from its seizure of the employee’s computer

during the search warrant in October 2019 as a benchmark. At that time, the employee’s email

account had a substantial number of records—approximately 142,000 emails. The parties also

agree that the defendant is entitled to a three-level reduction based upon his acceptance of

responsibility. PSR ¶¶27-29; U.S.S.G. § 3E1.1. With no prior convictions, MacPhee’s criminal

history category is I, and his Guidelines Sentencing Range is therefore 12–18 months. PSR ¶¶33-

34.

       II.     Argument

       The government’s recommended sentence—one year of probation with the first four

months to be served in home detention—is a reasonable and just outcome that is sufficient but not

greater than necessary to achieve the goals of sentencing under 18 U.S.C. § 3553(a) for this

defendant. To be clear, MacPhee’s actions are serious and general deterrence is particularly

important. 18 U.S.C. § 3553(a)(2)(B). Individuals who find themselves within the sphere of a

federal investigation need to understand that resorting to the deletion of files to obstruct or impede

law enforcement’s efforts will not be tolerated and that those actions have real consequences. For



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any would-be criminal weighing his options before obstructing a federal investigation, the

prosecution of MacPhee generally will have a measurable deterrent effect, not to mention the fact

that MacPhee is now a convicted felon.

         Fortunately, in this case, the potential for all pertinent data from the computer to be

destroyed was not fulfilled, because the government had email data from months prior preserved

on the employee’s physical computer as a result of the search warrant. While it certainly does not

excuse the conduct, this fact bears on the nature and circumstances of the offense and therefore is

also relevant in determining the appropriate sentence.        18 U.S.C. § 3553(a)(1).     Although

admittedly it is not a particularly helpful metric at this level of generality, the Sentencing

Commission reports that, for the fiscal year 2020, courts employed variances in sentences for

offenses under U.S.S.G. § 2J1.2 (obstruction offenses) in the majority of cases, with only 29 of

107 sentences being within the Guidelines. See United States Sentencing Commission, 2020

Annual     Report    and    Sourcebook    of   Federal    Statistics,   Table   32,   available   at

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-

sourcebooks/2020/2020-Annual-Report-and-Sourcebook.pdf

         In assessing the history and characteristics of the defendant, a non-incarcerative sentence

is also appropriate. MacPhee has not had any prior run ins with the law and by all accounts his

character otherwise appears to be unblemished. He is employed and currently works two jobs.

PSR ¶57. He also promptly accepted responsibility for his actions. These are also positive

indicators that specific deterrence is not of the greatest concern here. Should MacPhee find himself

in a position where he has access to employee email accounts again, he has seen and will continue

to live out the consequences of his poor choices.




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   III.      Conclusion

          For all of these reasons and the reasons to be discussed at the sentencing hearing, the

government respectfully requests that the Court impose a sentence of one year of probation and

require that MacPhee serve the first four months of his probationary term on home detention. The

government also requests that the Court impose a $100 special assessment.

                                                            Respectfully submitted,

                                                            RACHAEL S. ROLLINS
                                                            United States Attorney

                                                            by:/s/ Mackenzie A. Queenin
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                               CERTIFICATE OF SERVICE

       I, Mackenzie A. Queenin, certify that on this 9th day of November 2022, I caused this

document to be filed via the ECF system.


                                                           /s/ Mackenzie A. Queenin
                                                           Mackenzie A. Queenin
                                                           Assistant U.S. Attorney

Dated: November 9, 2022




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